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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                 Case No. 1:23-cv-08120-ER

 MICHAEL GRECCO PRODUCTIONS, INC.,

       Plaintiff,

 v.

 THE NEW YORK PERFORMING ARTS
 ACADEMY, INC,

       Defendant.



                                   [PROPOSED] ORDER

      THIS CAUSE is before the Court upon plaintiff Michael Grecco Productions, Inc.’s Status

Update (the “Status Update”) [D.E. 17].       The Court has considered the Status Update.

Accordingly, it is hereby ORDERED AND ADJUDGED that:

      1.      Plaintiff shall file a Motion for Default Final Judgment by June 21, 2024.



      IT IS SO ORDERED.


Dated: 06/03/2024                                  ___________________________________
                                                   JUDGE EDGARDO RAMOS
                                                   United States District Judge
